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                    PA NHIAG VANG
 6

 7                                 UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA

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10
     UNITED STATES OF AMERICA,                         Case No.: 1:17-CR-00173-DAD-BAM
11
                     Plaintiff,
12
            v.                                         STIPULATION TO CONTINUE BAIL
13                                                     REVIEW HEARING AND ORDER.
14   PA NHIAG VANG,
15
                     Defendants.
16

17

18          IT IS HEREBY STIPULATED by and between attorneys for the respective clients

19   that the Bail Review Hearing currently scheduled for Wednesday, October 4, 2017 at 2:00 p.m.,

20   be continued to Wednesday, October 11, 2017, at 2:00 p.m.

21          This continuance is requested by counsel for Defendant VANG, due to a scheduling

22   conflict on counsel’s calendar on Wednesday, October 4, 2017 at 2:00 p.m.

23          Counsel for Defendant has corresponded with Assistant U.S. Attorney, Vincenza

24   Rabenn, who has no objection to this continuance.
     Dated: October 3, 2017.                           NUTTALL COLEMAN & DRANDELL
25
                                                         /s/ Mark W. Coleman
26                                                      MARK W. COLEMAN
                                                        Attorney for Defendant
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                                                        PA NHIAG VANG
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                                                   1
     Case 1:17-cr-00173-DAD-BAM Document 61 Filed 10/04/17 Page 2 of 2
 1
     Dated: October 3, 2017.
 2
                                                        /s/ Vincenza Rabenn
 3
                                                       VINCENZA RABENN
 4                                                     Assistant United States Attorney

 5
                                              ORDER
 6
              IT IS SO ORDERED that the Bail Review Hearing currently scheduled for
 7
     Wednesday, October 4, 2017 at 2:00 p.m., be continued to Wednesday, October 11, 2017, at
 8
     2:00 p.m., in Courtroom 7 (SKO).
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     IT IS SO ORDERED.
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     Dated:     October 4, 2017                               /s/   Sheila K. Oberto            .
                                                      UNITED STATES MAGISTRATE JUDGE
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